
The following order has been entered on the motion filed on the 15th of June 2017 by Respondent (Mozijah Bailey) for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 28th of September 2017."
Upon consideration of the petition filed by Respondent (Mozijah Bailey) on the 15th of June 2017 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of September 2017."
Upon consideration of the petition filed on the 19th of June 2017 by Respondent (Mozijah Bailey) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of September 2017."
